EXHIBIT 2
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION
BANK POLICY INSTITUTE OHIO CHAM-
BER OF COMMERCE, OHIO BANKERS
LEAGUE, AMERICAN BANKERS ASSOCI-
ATION and CHAMBER OF COMMERCE OF
THE UNITED STA TES OF AMERICA,                     Case No. 2:24•cv-04300
                                                   District Judge Algenon L. Marbley
                      Plaintiffs,                  Magistrate Judge Chelsey M. Vascura
       V.

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM,

                      Defendant.


                               Declaration of M. Anthony Long

       1.     My name is M. Anthony Long, and I am General Counsel of Plaintiff Ohio Cham-

ber of Commerce ("Ohio Chamber").

       2.     Unless otherwise stated; this Declaration is based upon my personal knowledge and

belief and/or upon my review of business records of the Ohio Chamber. If called as a witness, I

could and would testify competently thereto.

       3.     The Ohio Chamber is a voluntary business association supporting free enterprise,

competition, and economic growth in the State of Ohio. This has included opposing bank capital

rules that make it more difficult for banks to extend credit to small businesses, thereby harming

the local economy in Ohio.

       4.     The Ohio Chamber has opposed bank capital rules that make it more difficult for

banks to extend credit to small businesses, thereby harming the local economy in Ohio. See Steve
Stivers, Ohio Chamber of Commerce, New Banking Rules Would Hurt Ohio Farmers and Manu-

facturers (May 13, 2024).

       5.      Many Ohio Chamber members or their affiliated entities submitted comment letters

on the proposed Enhanced Disclosure of-the ModeJs~Used in the Federal Reserve's Supervisory

Stress Test document, 82 Fed. Reg. 59,547 (Dec. 15, 2017), the proposed Stress Testing Policy

Statement, 82 Fed. Reg. 59,528 (Dec. 15, 2017), the proposed Policy Statement on the Scenario

Design Framework for Stress Testing, 82 Fed. Reg. 59,533 (Dec. 15, 2017), and/or the proposed

Amendments to the Regulatory Capital, Capital Plan, and Stress Test Rules, 83 Fed. Reg. 18,160

(Apr. 25, 2018).

       6.      Numerous Ohio Chamber members or their parent entities are subject to the Board

of Governors of the Federal Reserve System's stress tests and the stress-capital buffer, including

Bank of America; Fifth Third Bancorp; Huntington Bancshares Inc.; JPMorgan Chase & Co.; The

PNC Financial Services Group, Inc.; and U.S. Bancorp. All of these members or their affiliates

are headquartered in Ohio and all have substantial operations in Ohio, including in the Southern

District of Ohio.

       7.      The actions challenged in this case conflict with the Ohio Chamber's policy objec-

tives, and challenging the actions is germane to the organizational purpose of the Ohio Chamber.

The Ohio Chamber supports and advocates for banks that are subject to the stress tests, and also

represents the interests of businesses affected by banks' restricted ability to lend under the Board's

stress-test regime.

        8.     The Ohio Chamber maintains its principal place of business in Columbus, Ohio.




                                                  2
       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed thisl t day of March, 2025, at 34 S. 3rd Street, Columbus, OH 43215.




                                               On behalfofthe Ohio Chamber ofCommerce




                                                3
